v CaSFl:C*B-rl;€)l& @Jment #: 1 Filed: 12/29/09 Page 1 of 20 PagelD #:1

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. . H LW. DOBB|NS . .
_ . 3~2
Ao 91 (REv 5135) cHEW§rln a§ D!STR[CT C: ET AUSA Beniamln F Langner(3‘12) 35 817

UN|TED STATES D|STR|CT COURT
NORTHERN DlSTRlCT OF |LL|NO|S
EASTERN D|V|S|ON

UN|TED STATES OF AMERICA UNDER SEAL
CRIN||NAL COMPLA|NT
V.

RoGELlo eARAJAs CASE @A@F€R 1 05 8

MAGiSTRATE JUDGE SCHENKIER

|, the undersigned complainant, being duly sworn on oath, state that the following is true and correct to the best of my
knowledge and belief: in or about late August or early September 2008, at Dundee, in the Northern District of lilinois, Eastern
Divislon, and elsewhere, ROGEL|O BARAJAS defendant herein:

knowingly and willfully exported a defense article, nameiy, a Ruger .22 caliber rifle bearing serial number 351-
46056, without first having obtained the required license from the United States governmentor other approval
for such export;

in violation of Tit|e 22, United States Code, Sectlon 2778(b)(2) and (c). l further state that l am a Specia| Agent with
immigration & Customs Enforcement, and that this complaint is based on the facts contained in the Affidavit which is attached
hereto and incorporated herein.

M

' Signature of Complainant 0 \\_
. AMBER W|GANT
Speciat Agent, immigration & Customs Enforcement

Sworn to before me and subscribed in my presence,

 

 

December29. 2009 at Chicacio. illinois
Date City and State
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sioNEYi.scHENKiER.u_s.Maqisiraie Judqe /.~`“) se
\..`_______“_

Name & Titie of Judiciai Ofiicer Signatur`etg;if Ju`c`:iiciai ?fticer

 

 

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UNITED STATES DISTRICT COURT ) -
NORTHERN DISTRICT OF ILL[NOIS ' § SS
AFFIDAVIT

I, AMBER WIGANT, being duly sworn, state as follows:

l. I am a Special Agent with the U.S. Department of I-Iomeland Security, U.S.
Immigration and Customs Enforcernent, Office of Investigations, Chicago, Illinois. I am
currently assigned to conduct investigations involving illegal experts and have served in this
position since March 2008. My current responsibilities include investigating the illegal
transfer of commodities, information, and services from the United States, which are
regulated by the U.S. Departments of State, Cornmerce, and the Treasury.

2. This affidavit is submitted in support of a criminal complaint alleging that
Rogelio Barajas has violated Title 22, United States Code, Section 2778(b)(2) and (c). '
Because this affidavit is being submitted for the limited purpose of establishing probable
cause in support of a criminal complaint charging BARAJAS With knowingly and Willfully
exporting defense articles Without obtaining the required license from the United States
government, I have not included each and every fact known to me concerning this
investigation I have set forth only the facts that I believe are necessary to establish probable

cause to believe that the defendant committed the offense alleged in the complaint

3. This affidavit is based on my personal knowledge, as well as information

provided to me by other law enforcement agents

 

 

 

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Applicable Law

4. The Arms Export Control Act (AECA) authorizes the President of the United
States to control the export of items designated as “defense articles” on the United States '
Munitions List and the issuance of export licenses for those defense articles. See 22 U.S.C.
§ 2778(a)(1). The task of designating items as “defense articles” is performed by the
Department of State, in accordance with regulations that are promulgated by Department of
State, Directorate ofDefense Trade Controls (“DDTC”). See 22 U.S.C. § 27 78 (a) (2) and
22 C.F.R. §§`l20.l(a) and 120.2. All items that are designated as “defense articles” are
identified by category in a document, prepared by DDTC, that is known as the “Munitions
List.” 22 U.S.C. § 2278(a)(l) and 22 C.F.R. § 120.2. Category l of the Munitions List
identifies firearms as defense articles, which includes revolvers, pistols, rifles, and carbines.
A pistol is defined as a hand-operated firearm having a chamber integral with or permanently
aligned with the bore. 22 C.F.R. § 121 .9. A rifle is defined as a shoulder firearm which can
discharge a bullet through a rifled barrel 16 inches or longer. 22 C.F.R. § 121.1. The
Munitions List excludes other shotguns vvith barrels 18 inches or longer, BB, pellet, and
muzzle loading (black powder) firearms. Id.

5. Any person who engages in the business of manufacturing exporting, or

importing any “defense article” is required to register with the DDTC. 22 U.S.C.

§ 2278(b)(1)(A) and 22 C.F .R. § 122.l(a). lt is a crime for a person to willfully fail to

 

 

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register with DDTC prior to engaging in the business of manufacturing, exporting,r or
importing any “defense article.” 22 U.S.C. § 2778(c) and 22 C.F.R. §127.3.

6. Any person who exports a “defense ariicle” must get a valid export license
from DDTC before the defense article is exported to another country. 22 U.S.C. § 2778(b)(2)
and 22 C.F.R. § 123. lt is a crime for any person to Willfully export a “defense article” to
another country without obtaining an export license prior to exporting the article. 22 U.S.C.
§ 2778(c) and 22 C.F.R. §127.1fa)(1).

F acts Supporting Pmbable Cause

7 . On or about September 3, 2008, a Ruger .22 caliber rifle, Serial Number 351-
46056, was recovered by Mcxican authorities in an abandoned vehicle in Morelia, Mexico.
According to records obtained from GAT Guns in Dundee, Illinois, this rifle was purchased
by defendant Rogelio BARAJAS at GAT Guns on or about June 4, 2008. Based on the
evidence set forth below, there is probable cause to believe that BARAIAS knowingly and
willfully exported this rifle to Mexico without obtaining the required license from the United
States government. n

8. According to records obtained from the Illinois State Police, since August l,
2006, defendant Rogelio BARAJAS has purchased over 100 firearms of various type and
caliber at guns stores in the Chicago area, including GAT Guns in Dundee, IL and Cabela’s,

in Hoffman Estates, IL.l In that same time, according to records maintained by the

 

' The identification of Rogelio BARAJAS is based on: (i) the firearms listed herein were purchased
on an Illinois FOID card in the name of Rogelio Barajas; (2) a salesman at a gun store where BARAJAS

3

 

 

 

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Department of Homeland Security, BARAJAS crossed the border from Mexico into the
United States at least 36 times.

9. On November 7, 2007, ICE Special Agents interviewed Individual A, an
employee of GAT Guns, who stated that during a conversation with BARAJAS in or about
August 2007 regarding the location of BARAJAS’s firearms, BARAJAS told him that he
(BARAJAS) transported guns that he purchased in the United States to Mexico.2

10. According to records obtained from the GAT Guns and Cabela’s, between
December 12, 2007, and December 14, 2007, BARAJAS purchased five firearms from GAT
Guns and Cabela’s, including three 12 gauge shotguns and two .22 caliber rifles.

11. On or about December 15, 2007, while picking up certain of the firearms
described above at GAT Guns, BARAJAS was presented with a standard GAT Guns Release
and Hold Harmless Agreement that contained the following line:

The export of firearms outside of the U.S. requires an approved

export license from the U.S. Department of State. Some
firearms accessories and firearm sight/optics will require an

 

picked up several of the firearms listed below identified BARAJAS from a driver’s license photograph as
the individual who picked up the firearms purchased in the name of BARAJAS; (3) an undercover agent
posing as a gun store employee identified BARAJAS from a driver’s license photograph as the individual
to whom he explained the federal export licensing requirements; and (4) on multiple occasions, surveillance
agents identified BARAJAS from a driver’s license photograph as the individual who entered the gun store
at the time that firearm purchases were made in the name of Roge|io Barajas. In addition, Illinois law
requires gun stores to confirm the identity of the individual purchasing firearms when a firearm is picked up
after purchase

2 The government initiated its investigation into Barajas because in approximately Angust 2007, ICE
received information that a .22 caliber Beretta pistol was recovered by Mexican law enforcement authorities
in Vera Cruz, Mexico, in 2003. A trace of the weapon by ATF agents revealed that it originally had been
purchased by BARAJAS in 1992 at Midwest Sporting Goods in Plainfie|d, Illinois.

4

 

 

 

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export license from either the U.S. Department of Commerce or
the U.S. Department of State. lt is the firearms owner’s
responsibility to adhere to all U.S. customs reporting
requirements as well as U.S. export laws and regulations
BARAJAS initialed this line acknowledging the fact that he was aware of the license
requirements for the exportation of firearms outside of the United States. BARAJAS was
7 also verbally advised on this date of the license requirements of firearms for exportation
outside of the United States in a recorded conversation with an undercover agent who was
posing as an employee of GAT Guns.

12. On or about February 3, 2008, an employee at GAT Guns received multiple e-
mails from BARAJAS, using the email address prbvl967@hotmail.com,3 requesting price
quotes for various brands of shotgun (i.e. Franch_i, Benclli). The employee gave agents a
print-out of the e-mail from BARAJAS which included a header with the IP address from
which the email originated A search of public sources indicates that the IP address
associated with the origin of BARAJAS’s e-mail is registered inside of Mexico. This

indicates that BARAJAS was logging into his e-mail account from Mexico when he sent this

correspondence

 

3 According to records obtained from Hotmail in June 2009, the e-mail address

prbvl967@hotmail,com was subscribed to “Rogelio Barajas” in the country of “America/Chicago.”
Furthermore, as noted below, Bara_j as used this email account to communicate with and place orders for guns
from employees of GAT Guns, and according to employees at GAT Guns, appeared in person to purchase
the guns previously ordered via emails sent from this email account On June ll, 2009, Magistrate Judge
Brown approved a search warrant for BARAJAS’S MSN I-Iotmail account, prbvl967@hotmail.com. On
August 21, 2009, Magistrate Judge Valdez approved a second search warrant for prbv l967@hotmail.com.

5

 

 

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13. On or about March 11, 2008, BARAJAS arrived at O’Hare lnternational
Airport aboard a flight from G-uadalajara, Mexico. There is no corresponding record of _
BARAJAS exiting the United States. Based on my training and experience, this type of
travel pattern indicates that BARAJAS traveled to Mexico by vehicle or on foot sometime
between December 15, 2007, when he picked up weapons at GAT Guns in Dundee, Illinois,
and March 10, 2008.4 Upon his arrival into the United States, BARAJAS was escorted to the
secondary inspection area for a bag examination BARAJAS had a suitcase and an empty
hard sided golf club case. Customs and Border Protection (“CBP”) inspectors examined the
suitcase and found that it contained papers with handwritten notes corresponding to firearm
brands and firearm related items. The CBP inspectors observed that the golf club case was
empty, but noted the odor of burnt gunpowder emanating from inside. When CBP officers
questioned BARAJAS about the golf case, BARAJAS stated that he had used the golf case
to carry tools to his father in Mexico.

14. According to records obtained from the GAT Guns and Cabela’s, between
March 12, 2008, and March 20, 2008, BARAJAS purchased seven weapons including one
.22 caliber pistol, four 12 gauge shotguns and two 20 gauge shotguns. On nor about March
12, 200 8, BARAJAS purchased a Benclli Cordoba l2-gauge shotgun, which he had inquired

about via emails sent from prbv1967@hotmail.com. See supra il 12. On or about March 20,

 

4 The United States does not keep records of individuals or vehicles exiting the United States to
Mexico. The United States does, however, keep records ofall passengers who leave the United States aboard
an outbound flight

 

 

 

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2008, BARAJAS purchased a Franchi l2-gauge shotgun, which he had inquired about via
emails sent from prbvl967@hotmail.com. See supra il 12.

15. On or about April 18, 2008, BARAJAS arrived at Chicago O’Hare
lnternational Airport aboard a flight from Guadalajara, Mexico. There is no corresponding
record of BARAJAS exiting the United States aboard an outbound flight Based on my
training and experience, this type of travel pattern indicates that BARAJAS traveled to
Mexico by vehicle or on foot, and returned to the United States by airplane

16. According to records obtained from the GAT Guns, between April 21, 2008,
and May l, 2008, BARAJAS purchased nine weapons from GAT Guns, including two .243
caliber rifles, one .22 caliber pistol, four 12 gauge shotguns and a 20 gauge shotgun.

17. On or about May 29, 200 8, BARAJAS arrived at Chicago O’Hare lnternational
Airport aboard a flight from Morelia, Mexico. There is no corresponding record of
BARAJAS exiting the United States aboard an outbound flight Based on my training and
experience, this type of travel pattern indicates that BARAJAS traveled to Mexico by vehicle
or on foot, and returned to the United States by airplane

18. According to records obtained from the GAT Guns, on or about June 4, 2008,
BARAJAS purchased a Ruger .22 caliber rifle bearing Serial Number 351-46056.
Furthermore, between June 4, 2008, and August 17, 2008, BARAJAS purchased a total of

eleven weapons from GAT Guns: six .22 caliber rifles (including the Ruger .22 caliber rifle

bearing Serial Number 351-46056) and five .22 caliber pistols.

 

 

 

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19. According to an employee of GAT Guns, during a conversation between the
employee and BARAJAS on or about August 4, 2008, BARAJAS inquired-as to the viability
of GAT Guns supplying firearm accessories (i.e. belts, vests) to BARAJAS in volume.
BARAJAS explained to the employee that he was setting up a hunting store in Mexico.

20. Customs and Border Patrol records reflect that on September _10, 2008,
BARAJAS crossed the border from Mexico into the United States through the port of entry
in Laredo, Texas, while driving a Jeep Grand Cherokee, Illinois license plate G69 6309.5
There are no records indicating when or how BARAJAS left the United States. Based on my
training and experience, this type of travel pattern indicates that BARAJAS traveled to
Mexico by vehicle or on foot sometime between August 17, 2008, and September 10, 2008.

21. ln addition, as noted above, on or about September 3, 2008 - a week before
BARAJAS reentered the United States - a Ruger .22 caliber rifle, Serial Number 351-46056,
was recovered by Mexican authorities in an abandoned vehicle in Morelia, Mexico. This
rifle was purchased by BARAJAS at GAT Guns on or about June 4, 2008.

22. Between October l, 2008, and October 12, 2008, the following emails were
exchanged between BARAJAS’s e-rnail account prbvl967@hotmail.com, and an e-mail

account subscribed to lndividual B at venadeando@gmail.com:6

 

5 According to records obtained from the Illinois Secretary of State, the Jeep Cherokee is registered
to Rogelio BARAJAS at 2016 Devonshire Road, Waukegan, Illinois.

6 lndividual B’s name also appears in the header to the emails.

8

 

 

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Date: October 1, 2008 _
From: [lndividual B] (venadeando@gmail.com)
To: Rogelio Barajas (prbv1967@hotmail.com)

Pablo this mail is the good one delete the first one because it
went out before i could finish it What happened pablo how are
you. l am sending you the attached the file with the prices of the
cartridges. Lets see what we can move, and taking advantage of
you going to the other side let’s see if you can bring some boxes
of the fearful 270 weatherby mag [boxes of .270 caliber
ammunition for a Weatherby rifie],7 i could care less if they are
of 130, 140 or 150. What i want to do is fire a lot of shots with
my rifle and we’ll see what we can try over here.

my chum_the doctor told me if he was interested in “la mira” i
hope they make the agreement

well have a good trip and let me know when you are coming
back

Date: October 6, 2008 l
From: Rogelio Barajas (prbvi%?@hotmail.com) `
To: [lndividual B] (venadeando@gmail.com)

What’s up buddy this is the #1432575663 bancomer PABLO
ROGELIO BARAJAS VIVER()S [caps in original], as I was
telling you we can settle later on l am interested in the
rifle”. . .”32gr” if there is a 36 better we will be l touch take care
thanks

 

 

7 At various points in the Affidavit, l will offer my interpretations of certain quoted language in
brackets. My interpretations of these conversations are based on my training and experience, my knowledge
of the investigation to date, and the contents and context of the conversations, as well as prior and subsequent
conversations

 

 

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Date: October 10, 2008
From: [lndividual B] (venadeando@gmail.com)
To: Rogelio Barajas (prbvl967@hotmail.com)

Pablo l was not able to deposit for you, no screwing around,
dude, the dollar is very expensive, and l acted like a jerk to see
if it would go down but it turned out worse, l swear l got pale
from the amount it went up. When are you coming back? To
see if l have time to gather some money so that you can bring
me something or if not l will wait

lt’s screwed up how the dollar got and the euro is worse...
[ellipse in original]

Well let’s see if you can let rne know to see what we can do.

No screwing now it is going to turn out more expensive right?
About how much?

Take care jerk and have a good time

Date: October 10, 2008
From: Rogelio Baraj as (prbvl967@hotmail.com)
To: [lndividual B] (venadeando@gmail.com)

What’s up man, well yes the fucking dollar is sky high and the
tortillas and beans have fallen in value, well but what the hell,
dude, we have to keep going. l am at what l told you, only now
make the exchange at whatever it is when you deposit it if it was
about 450 [dollars] in the past now it is going to be 600 [dollars]
more or less depending on what it is per box and then until you
have it until then l tell you what l need it if l need it, okay. Take
care we will be in touch, 1 will leave here like next Monday in
other words the 20th something can still be done.

 

Date: October 12, 2008
From: [lndividual B] (venadeando@gmail.com)
To: Rogelio Barajas (prbvl967@hotmail.com)

OK so look let me see what the chaos turns into between now

10

 

 

 

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and Thu.rsday, to see if the fucking dollar goes down a bit and

that this kind of exchange is not a big problem. It’s good you’re

going to spend a few days over there, have a great time and l

think that instead of the fucking lweatherbys [rifle] bring a

blonde instead, l need that one more than the fucking rifle if you

want I will give it to you. ..
According to information obtained from public sources, the originating lP address of the
computer from which the emails from venadeando@gmail.com were sent is located in
Mexico.

23. Based on my review of the above email correspondence and a review of the lP
addresses associated with the computers from which these emails were sent, as well as my
knowledge of this investigation and my training and .experience, I believe that BARAJAS
agreed to purchase firearms and firearm accessories for lndividual B who is located in
Mexico and referred to BARAJAS as having traveled out of Mexico. Furthermore, based
on the context of the email exchange and my training and experience, l believe that
BARAJAS provided lndividual B with an account number for Bancomer, a Mexican bank,
to deposit funds for payment to BARAJAS.

24. According to records obtained from the GAT Guns, between October l l, 2008,
and October 21, 2008, BARAJAS purchased eleven weapons from GAT Guns: five .22
caliber rifles, four 12 gauge shotguns, and two pistols. On October 21, 2008, BARAJAS
purchased a Weatherby 12 gauge shotgun from GAiT Guns.

25. On or about October 24, 2008, BARAJAS crossed the border from Mexico into n

the United States through the port of entry in Laredo, Texas, while driving the leep

ll

 

 

 

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Cherokee. There are no records indicating when or how BARAJAS exited the United States.
Based on my training and experience, this type of travel pattern indicates that BARAJAS
traveled to Mexico by vehicle or on foot sometime between October 21, 2008, and October
24, 2008.

26. According to records obtained from the GAT Guns, on or about December 26,
2008, BARAJAS purchased four weapons from GAT Guns, including three .22 caliber rifles
and a .22 caliber pistol.

27. On or about February 21, 2009, an e-mail was sent from the email address
prbvl967@hotmail.com to the email address prbvl967@hotmail.com. The email included
a list of abbreviations that, based on the contents and context of the email, my knowledge of
this investigation and my training and experience, appear to correspond to firearms, firearm
accessories, prices and nicknames of individuals for whom BARAJAS was purchasing
firearms and firearm accessories The email appears to be a shopping list that Barajas sent

to himself. The text of the email was as follows:

X3 900 ROBERTO 10 COSAS 1500
3) 10/22 850 21 MORO 10 MX 3200
MOSQUI 400 11.5 DEUDA 33 BRYAN 1000
BERI 300 4.5 _ CACHO 5.2 ` BEBE 500
MINI 250 7 M REYEZ 13 ARM 3300

wTRBY 550 10 cARRANZA 2 oDANTE 500
CAR`PINTERo 4 PEDIDos 750
CERARDo 1.6 Yo 500

12

 

 

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CORTINA .6
CARTRIDGES #22Y27
POWER CUTER LOWS
TELEPHONE BATTERY
RADIO SHAK 6`VOLTEOS FOCOS
CLlP NEXTEL MAS VATERIA NASCAR
LENTES HECTOR

According to information obtained from public sources, the originating lP address of the
computer from which the email was sent is located in Mexico.

28. On or about February 24, 2009, BARAJAS entered the United States at the Port
of Entry (POE) at Laredo, _TX in a 1997 Toyota Camry that was registered to him.
BARAJAS was stopped twenty-nine miles north of the POE at a checkpoint set up by the
United States Border Patrol, A further inspection of his vehicle revealed a non-factory
compartment or “trap” compartment,just above the fuel tank. The vehicle was seized and
agents interviewed BARAJAS, who said that he had smuggled U.S. currency in that
compartment Agents then drove BARAJAS back to the POE in Laredo, TX, and BARAJAS
reentered Mexico.

29. According to records obtained li”orn the GAT Guns and Cabela’s, between
March 30, 2009, and April 9, 2009, Barajas purchased at least 14 weapons from gun stores
in Chicago, including seven of the firearms included on the Febniary 21 shopping list (See
11 27). For example, the February 21` shopping list included the abbreviation “X3.” On April

4, 2009 Barajas purchased a Winchester Super X3 12 gauge shotgun at GAT Guns. The

13

 

 

 

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shopping list also included the abbreviation “3)10/22.” On March 30, April 5 and April 9,
2009, BARAJAS purchased one Ruger 10/22 .22 caliber rifle (for a total of three 10/22
rifles) from gun stores in Chicago. ln addition, between March 30, 2009, and April 9, 2009,
BARAJAS purchased one .22 caliber rifle, one .30-06 caliber rifle, one .270 caliber rifle, two
.22 caliber pistols, three 12 gauge shotguns, one 20 gauge shotgun and one 410 gauge
shotgun.`

30. On or about May 29, 2009, an email was sent from hunnypot3 l@hotmail.com3
to prbvl967@hotmail.com with the subject line “inventario” (inventory), and an excel file
titled, “inventario de armas 22 de mayo de 2009.xls” (firearm inventory May 22, 2009) was
attached to that email. This excel file contained a list of approximately 400 firearms,
including at least 100 firearms that correspond with firearms that Barajas had purchased in
the United States. According to information obtained from public sources, the originating
IP address of the computer from which the email was sent is located in Mexico.

31. On or about May 30, 2009, an email was sent from prbvl967@hotmail.com
to prbvl967@hotmail.com. The email included a list of abbreviations that, based on the
contents and context of the email, my knowledge of this investigation and my training and
experience, appear to correspond to firearms, firearm accessories, prices and nicknames of

individuals for whom BARAJAS was purchasing firearms and firearm accessories The text

 

s Based on the contents of emai|s exchanged between hunnypot3l@hotmail.coln and
prbv1967@hotmail.com , your affiant believes that the email account hunnypot_3 l@hotmail.com belongs to
a female acquaintance of BARAJAS.

14

 

 

 

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of` the email was as follows:

aurelio: bsa telescopio 8x32x44 platinum target dot---conteron

gover: conteron~---boss

rica: tenderizer # r2610938 $20 cabelas »--nosler 55 ct cabelas-»-22mag---`
headed

#913213713;--n0nhead@d# 3d#915212392 (10) cabelas

infant clacce #9ls 942924 _

chino: marlin60# 443990b_(5) $14---win490 mag#25 1030 (2) $20 NUMRICH
FEDERJCO: BROWNSNELL mira lyman #539~057-0064b---rampa #962-
020-219aa---hood# 962-026-00aa---mira Williams 28 mls #962-161-290aa
Dodoli: lyman #539-017-001 $20
Me: woodmar #337400a(b) san NuMRlCH--_rear iris #ans-Qr?s-s sra
champshooters---150 y 85 puntas.

CABELAS

BROWNSNELL

SHOOTERS

CHAMPSHOOTERS

Gunpowder 4464_4350-_3031

:x box 360_shoes-sweatshirt

Yn: huaraches #9-hand soap_advil_bread

Bebc:

According to information obtained from public sources, the originating lP address of the
' computer from which the email was sent is located in Mexico.
32. From June 7, 2009, to June 16, 2009, BARAJAS picked up twelve firearms that

he had previously purchased from GAT Guns in Dundee, IL, and Cabela’s in Hoffman

15

 

 

 

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Estates, IL, including three .22 caliber rifles, one .270 caliber rifle, one .308 caliber rifle, one
.22 caliber pistol, one .38 caliber revolver, and five 12 gauge shotguns.

33. l On-June 11, 2009, the government sought and obtained an order from Chief
Judge lames F. I-lolderman requiring Sprint Nextel to provide, for a period of 30 days, all
information, facilities, and technical assistance needed to ascertain the physical location of
the cell phone utilizing phone number (773) 641-6779 (“Target Phone 1”), which
BARAJAS was using at that time.g

34. Between June ll, 2009, and June 29, 2009, information provided by Sprint
Nextel indicated that Target Phone l was located within lllinois. Between June 29, 2009,
and June 30, 2009,` information provided by Sprint Nextel indicated that Target Phone 1
traveled from Illinois to Laredo, TX. Subsequent attempts to track Target Phone 1 on July
l through July 3 resulted in failures, which in your affiant’s training and experience,
indicates that BARAJAS crossed the border from the United States into Mexico on or about
July 1, 2009,

35. On or about August 29, 2009, BARAJAS picked up six firearms from GAT
Guns in Dundee, lL and Cabela’s in Hoffinan Estates, including one .22 caliber rifle, one

.2'70 caliber rifle, one .30-06 caliber rifle, one .22 caliber pistol, one .22 caliber revolver and

 

9 On June 4, 2009, when BARAJAS purchased three weapons from GAT Guns, BARAJAS left the
phone number 773 -641-6779 as his contact information. ln addition, on June 4, 2009, BARA.IAS placed an
internet order to purchase a gun from Cabela’s and again listed his contact phone number as 773-641-6779.
Finally, according to an employee ofCabela’s, on or about June 10, 2009, the employee called BARAJAS
at 773-641~6779 to inform him that a firearm he had purchased via the internet had arrived.

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one 12 gauge shotgun.

36. On or about September 1, 2009, DEA Special Agent Amin Rosado received
a phone call from BARAJAS. Rosado, who is assigned to the DEA office located in Laredo,
Texas, was the DEA agent who interviewed BARAJAS when BARAJAS entered the United
States on February 24, 2009, in a Toyota vehicle with a trap compartment During the phone
call, BARAJAS told Rosado that he (BARAJAS) was “in trouble up here” in Illinois and that
n he (BARAJAS) wanted to speak face to face with Rosado. BARAJAS also told Rosado that
he (BARAJAS) would be traveling from Chicago to Laredo, Texas, in the next several days
and wanted to speak to Rosado at that time. `

37. On or about September 3, 2009, Special Agent Rosado spoke with BARAJAS
in person in Laredo, Texas. BARAJAS admitted that he had eight guns in Mexico, and
claimed to use the guns for hunting purposes SA Rosado questioned BARAJAS as to how
he (BARAJAS) got the firearms into Mexico. BARAJAS stated that he would not tell SA
Rosado how he got the guns to Mexico.

38. On or about October 2, 2009, SA Rosado again met with BARAJAS in person
in Laredo, Texas. BARAJAS said that he was stopped by border patrol officers at the
Laredo, TX, point of entry in July 2009,10 and escorted to the secondary inspection lane.
BARAJAS told SA Rosado that he asked the border patrol officers why he was being

inspected and the officer responded that it was because of an ATF lookout SA Rosado

 

1° There`are no corresponding CBP records of a border crossing by or investigative stop of
BARAJAS.

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asked BARAJAS why he thought the ATF was investigating him. BARAJAS stated that he
owns and purchases a lot of guns. BARAJAS admitted that he owns approximately 40 rifles
of .22, .30-06 and .308 caliber, several .22 caliber pistols and multiple 12 gauge and 20 gauge
shotguns. BARAJAS told SA Rosado that he had purchased these weapons at GAT Guns,
Cabela’s, Bass Pro Shop, and Midway guns in lllinois.'1 BARAJAS stated that after
purchasing these weapons in Illinois, he took these weapons to his home in Mexico via the
International Bridge at the point of entry in Laredo, Texas. BARAJAS said thathe has been
transporting these firearms to Mexico little by little over a period of years. BARAJA.S also
stated he is a gun dealer and provided SA Rosado with a Firearm 0wner Identification card
(FOID) #567'13019.12

39. On or about September 23, 2009, your affiant obtained a preliminary licensing
determination certifying that the Ruger -.22 rifle bearing serial number 351-46056 is a
“defense article” within the meaning of 22 U.S.C. §2778 and requires a license from the
Directorate of Defense Trade Controls for export to Mexico.

40. On or about September 24, 2009, your affiant obtained a licensing history
report certi®in g that Rogelio BARAJAS has never applied for or obtained a license to export

defense articles from the United States Department of Commerce or the United States

 

" Accordin g to records obtained from Bass Pro Shop, BARAJAS purchased two weapons from Bass
Pro Shop in 2001. Your affiant is unaware of any records indicating that BARAJAS purchased weapons
from Midway guns. However, according to records obtained from Midwest Sporting Goods, BARAJAS
purchased weapons from Midwest Sporting Goods in 1992, 2000, 2003 and 2008.

'2 In order to be a firearm dealer in the United States, the individual must posses a F ederal Firearms
License (FFL). A FOID card does not grant the bearer the ability to legally sell firearms, only to handle and
purchase firearms in the state of Illinois. `

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Department of State.

41. Based on the facts set forth above, there is probable cause to believe that

Rogelio Barajas knowingly and willfully exported a defense article, namely, a Ruger .22

caliber rifle bearing serial number 351-46056, without obtaining the required license from

the United States government, in violation of Title 22, United States Code, Section

277s(b)(2) and (c).

FURTHER AFFIANT SAYETH NOT.

SUBSCRIBED AND SWORN to before me
this 29th day of December, 2009.

19

v Mw
AMBER WIGANT 0 y
Special Agent,

lmrnigration & Customs Enforcement

sr Nsv 1.'" spHEi\rKIER
United States Magistrate Judge

   

 

 

